Case 3:22-cv-03070-TSH Document 42-2 Filed 09/11/23 Page 1 of 15




                        Exhibit B
       Case 3:22-cv-03070-TSH Document 42-2 Filed 09/11/23 Page 2 of 15




                                                                                        202-3062

                          UNITED STATES OF AMERICA
                     BEFORE THE FEDERAL TRADE COMMISSION

COMMISSIONERS:                Lina M. Khan, Chair
                              Noah Joshua Phillips
                              Rebecca Kelly Slaughter
                              Christine S. Wilson


In the Matter of                                       DECISION AND ORDER

TWITTER, INC., a corporation.                          Docket No. C-4316




                                          DECISION

        The Federal Trade Commission (“Commission”) initiated an investigation of certain acts
and practices of the Respondent named in the caption. The Commission’s Bureau of Consumer
Protection (“BCP”) prepared and furnished to Respondent a draft Complaint. BCP proposed
presenting the draft Complaint to the Commission. If issued, the draft Complaint would charge
Respondent with violations of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C.
§§ 45(a)(1) and (l), 53(b), and 56(a)(1).

        Respondent neither admits nor denies any of the allegations in the Complaint, except as
specifically stated in the Decision and Order. Only for purposes of this action, Respondent
admits the facts necessary to establish jurisdiction.

       The Commission considered the matter and determined that it had reason to believe
Respondent has violated the Decision and Order the Commission previously issued in In re
Twitter, Inc., C-4316, 151 FTC LEXIS 162 (F.T.C. March 2, 2011) and the FTC Act, and that a
Complaint should issue stating its charges in that respect. After due consideration, the
Commission issues the Complaint, makes the following Findings, and issues the following
Order:

                                          FINDINGS

1.     Respondent Twitter, Inc. (“Twitter”) is a Delaware corporation with its principal office or
place of business at 1355 Market Street, Suite 900, San Francisco, CA 94103.

2.    The Commission has jurisdiction over the subject matter of this proceeding and over the
Respondent, and the proceeding is in the public interest.

3.      The Complaint charges violations of Section 5 of the FTC Act, 15 U.S.C. § 45, and
violations of Provision I of an order previously issued by the Commission, 15 U.S.C. § 56(a)(1).
                                                1
        Case 3:22-cv-03070-TSH Document 42-2 Filed 09/11/23 Page 3 of 15




4.      Respondent waives any claim that it may have under the Equal Access to Justice Act, 28
U.S.C. § 2412, concerning the prosecution of this action through the date of this Order, and
agrees to bear its own costs and attorney fees.

5.      Respondent and the Commission waive all rights to appeal or otherwise challenge or
contest the validity of this Order.

                                              ORDER

                                          DEFINITIONS

       For the purpose of this Order, the following definitions apply:


A.      “Covered Incident” means any instance affecting 250 or more Users in which: (1) any
United States federal, state, or local law or regulation requires Respondent to notify any U.S.
federal, state, or local government entity that information collected or received, directly or
indirectly, by Respondent from or about an individual consumer was, or is reasonably believed to
have been, accessed or acquired without authorization; or (2) individually identifiable Covered
Information collected or received, directly or indirectly, by Respondent, was, or is reasonably
believed to have been, accessed, acquired, or publicly exposed without authorization. “Covered
Incident” does not include instances where the only unauthorized access, acquisition, or exposure
was due to a User communicating through Respondent’s services (e.g., public tweets, protected
tweets, retweets, or direct messages) information that was obtained from sources other than
Respondent.

B.      “Covered Information” means information from or about an individual consumer
including, but not limited to: (1) a first or last name; (2) geolocation information sufficient to
identify a street name and name of city or town; (3) an email address or other online contact
information, such as an instant messaging User identifier or a screen name; (4) a mobile or other
telephone number; (5) photos and videos; (6) Internet Protocol (“IP”) address, User ID, or other
persistent identifier that can be used to recognize a User over time and across different devices,
websites, or online services; (7) a Social Security number; (8) a driver’s license or other
government issued identification number; (9) financial account number; (10) credit or debit
information; (11) date of birth; (12) biometric information; or (13) any information combined
with any of (1) through (12) above. “Covered Information” does not include information that a
User intends to make public using Respondent’s services.

C.     “Representatives” means Respondent’s officers, agents, servants, employees, attorneys,
and those persons in active concert or participation with them who receive actual notice of this
Order by personal service or otherwise.

D.     “Resources” means networks, systems, and software.

E.     “Respondent” means Twitter, Inc. (“Twitter”), and its successors and assigns. For
purposes of Parts V and VI, Respondent means Twitter, Inc., its successors and assigns, and any
business that Respondent controls directly or indirectly, except for any business that: (1) does not
provide services that are offered to U.S. residents; or (2) does not collect, maintain, use, disclose,
                                                  2
        Case 3:22-cv-03070-TSH Document 42-2 Filed 09/11/23 Page 4 of 15




access, or provide access to the Covered Information of U.S. residents to enable Respondent’s
microblogging, social networking, or communications services.

F.     “Timeline Notice” means a message Respondent places in a User’s Twitter timeline (i.e.,
the main screen the User sees when opening Twitter which displays a stream of tweets from
accounts the User has chosen to follow) that stays near the top (i.e., within the first five (5)
tweets) of a User’s Twitter timeline: (1) for at least six (6) months from the effective date of the
Order; (2) until the User clicks on the “Learn More about your options” button embedded in the
message; or (3) until the User scrolls past the message in their timeline, whichever occurs earlier.

G.      “User” means an identified individual from whom Respondent has obtained information
for the purpose of providing access to Respondent’s products and services.

                I.     PROHIBITION AGAINST MISREPRESENTATIONS

        IT IS ORDERED that Respondent and its Representatives, directly or through any
corporation, subsidiary, division, website, mobile app, or other device, in connection with the
offering of any product or service in or affecting commerce, must not misrepresent, in any
manner, expressly or by implication, the extent to which Respondent maintains and protects the
privacy, security, confidentiality, or integrity of Covered Information, including, but not limited
to, misrepresentations related to:

A.     Respondent’s privacy and security measures to prevent unauthorized access to Covered
Information;

B.     Respondent’s privacy and security measures to honor the privacy choices exercised by
Users;

C.     Respondent’s collection, maintenance, use, disclosure, or deletion of Covered
Information;

D.     The extent to which a User can control the privacy of any Covered Information
maintained by Respondent, and the steps a User must take to implement such controls;

E.      The extent to which Respondent makes or has made Covered Information accessible to
any third parties;

F.      The extent to which Respondent targets advertisements to Users or enables third parties
to target advertisements to Users; or

G.      The extent to which Respondent is a member of, adheres to, complies with, is certified
by, is endorsed by, or otherwise participates in any privacy or security program sponsored by a
government or any self-regulatory or standard-setting organization, including but not limited to
the EU-U.S. Privacy Shield framework, the Swiss-U.S. Privacy Shield framework, and the
APEC Cross-Border Privacy Rules.




                                                 3
       Case 3:22-cv-03070-TSH Document 42-2 Filed 09/11/23 Page 5 of 15




II.     LIMITATIONS ON USE OF TELEPHONE NUMBERS OR EMAIL ADDRESSES
      SPECIFICALLY PROVIDED TO ENABLE ACCOUNT SECURITY FEATURES

       IT IS FURTHER ORDERED that Respondent and its Representatives must not use,
provide access to, or disclose, for the purpose of serving advertisements, any telephone number
or email address obtained from a User before the effective date of this Order for the purpose of
enabling an account security feature (e.g., two-factor authentication, password recovery, re-
authentication after detection of suspicious or malicious activity). Nothing in Provision II will
limit Respondent’s ability to use, provide access to, or disclose such telephone numbers or email
addresses if obtained separate and apart from a User enabling such account security feature and
in a manner consistent with the requirements of this Order.

                      III.    REQUIRED NOTICE TO CONSUMERS

        IT IS FURTHER ORDERED that, within fourteen (14) days after the effective date of
this Order, Respondent must provide a Timeline Notice to all current U.S. Users who joined
Twitter prior to September 17, 2019, that states: “Twitter’s Use of Your Personal Information
for Tailored Advertising As we stated on Oct. 8, 2019, we may have served you targeted ads
based on an email address or phone number you provided to us to secure your account.”, and
includes a “Learn more about your options” button that links to a webpage showing the
information in Exhibit A.

           IV.   REQUIRED MULTI-FACTOR AUTHENTICATION OPTIONS

        IT IS FURTHER ORDERED that, as of the effective date of this Order, Respondent
must allow Users to utilize multi-factor authentication without providing a telephone number to
access their Twitter accounts, such as by integrating authentication applications or allowing the
use of security keys. The Company may use equivalent, widely-adopted industry authentication
options that do not require Users to provide a telephone number and that are not multi-factor, if
the person or persons responsible for the Program under Provision V.C: (1) approve(s) in writing
the use of such equivalent authentication options; and (2) document(s) a written explanation of
how the authentication options are widely-adopted and at least equivalent to the security
provided by multi-factor authentication.

      V.     MANDATED PRIVACY AND INFORMATION SECURITY PROGRAM

         IT IS FURTHER ORDERED that Respondent, in connection with the collection,
maintenance, use, disclosure of, or provision of access to Covered Information, must, within one
hundred eighty (180) days of issuance of this Order, establish and implement, and thereafter
maintain a comprehensive privacy and information security program (the “Program”) that
protects the privacy, security, confidentiality, and integrity of such Covered Information. To
satisfy this requirement, Respondent must at a minimum:

A.     Document in writing the content, implementation, and maintenance of the Program;

B.    Provide the written program, and any evaluations thereof or updates thereto to
Respondent’s board of directors or governing body or, if no such board or equivalent governing


                                                4
        Case 3:22-cv-03070-TSH Document 42-2 Filed 09/11/23 Page 6 of 15




body exists, to a senior officer of Respondent responsible for the Program at least once every
calendar quarter;

C.    Designate a qualified employee or employees to coordinate and be responsible for the
Program;

D.      Assess and document, at least once every twelve (12) months and promptly following the
resolution of a Covered Incident (not to exceed ninety 90 days after the discovery of the Covered
Incident), internal and external risks to the privacy, security, confidentiality, or integrity of
Covered Information that could result in the: (1) unauthorized collection, maintenance, use,
disclosure, alteration, destruction of, or provision of access to Covered Information; or the (2)
misuse, loss, theft, or other compromise of such information;

E.      Design, implement, maintain, and document safeguards that control for the material
internal and external risks Respondent identifies to the privacy, security, confidentiality, or
integrity of Covered Information identified in response to Provision V.D. Each safeguard must
be based on the volume and sensitivity of Covered Information that is at risk, and the likelihood
that the risk could be realized and result in the: (1) unauthorized collection, maintenance, use,
disclosure, alteration, or destruction of, or provision of access to Covered Information; or the (2)
misuse, loss, theft, or other compromise of such information. Such safeguards must also include:

       1.      Prior to implementing any new or modified product, service, or practice that
       collects, maintains, uses, discloses, or provides access to Covered Information,
       conducting an assessment of the risks to the privacy, security, confidentiality, or integrity
       of the Covered Information;

       2.     For each new or modified product, service, or practice that does not pose a
       material risk to the privacy, security, confidentiality, or integrity of Covered Information,
       documenting a description of each reviewed product, service, or practice and why such
       product, service, or practice does not pose such a material risk;

       3.      For each new or modified product, service, or practice that poses a material risk to
       the privacy, security, confidentiality, or integrity of Covered Information, conducting a
       privacy review and producing a written report (“Privacy Review”) for each such new or
       modified product, service, or practice. The Privacy Review must:

               (a)    Describe how the product, service, or practice will collect, maintain, use,
               disclose, or provide access to Covered Information, and for how long;

               (b)     Identify and describe the types of Covered Information the product,
               service, or practice will collect, maintain, use, disclose, or provide access to;

               (c)     If the Covered Information will be collected from a User, describe the
               context of the interaction in which Respondent will collect such Covered
               Information (e.g., under security settings, in pop-up messages in the timeline, or
               in response to a prompt reading, “Get Better Ads!”);



                                                  5
Case 3:22-cv-03070-TSH Document 42-2 Filed 09/11/23 Page 7 of 15




     (d)     Describe any notice that Respondent will provide Users about the
     collection, maintenance, use, disclosure, or provision of access to the Covered
     Information;

     (e)     State whether and how Respondent will obtain consent from Users for the
     collection, maintenance, use, disclosure, or provision of access to Covered
     Information;

     (f)      Identify any privacy controls that will be provided to Users relevant to
     the collection, maintenance, use, disclosure, or provision of access to the Covered
     Information;

     (g)     Identify any third parties to whom Respondent will disclose or provide
     access to the Covered Information;

     (h)     Assess and describe the material risks to the privacy, security,
     confidentiality, and integrity of Covered Information presented by the product,
     service, or practice;

     (i)    Assess and describe the safeguards to control for the identified risks, and
     whether any additional safeguards need to be implemented to control for such
     risks;

     (j)   Explain the reasons why Respondent deems the notice and consent
     mechanisms described in Provisions V.E.3(d) and V.E.3(e) sufficient;

     (k)     Identify and describe any limitations on the collection, maintenance, use,
     disclosure, or provision of access to Covered Information based on: (i) the context
     of the collection of such Covered Information; (ii) notice to Users; and (iii) any
     consent given by Users at the time of collection or through subsequent
     authorization;

     (l)     Identify and describe any changes in how privacy and security-related
     options will be presented to Users, and describe the means and results of any
     testing Respondent performed in considering such changes, including but not
     limited to A/B testing, engagement optimization, or other testing to evaluate a
     User’s movement through a privacy or security-related pathway;

     (m)     Include any other safeguards or other procedures that would mitigate the
     identified risks to the privacy, security, confidentiality, and integrity of Covered
     Information that were not implemented, and each reason that such alternatives
     were not implemented; and

     (n)     Include any decision or recommendation made as a result of the review
     (e.g., whether the practice was approved, approved contingent upon safeguards or
     other recommendations being implemented, or rejected);



                                       6
        Case 3:22-cv-03070-TSH Document 42-2 Filed 09/11/23 Page 8 of 15




       4.    Safeguards to prevent the collection, maintenance, use, disclosure, or access to
       Covered Information beyond the limitations identified in Provision V.E.3(k), including:

               (a)     Regular training, at least once a year, for any employees and independent
               contractors whose responsibilities include the collection, maintenance, disclosure,
               use, or provision of access to Covered Information, on the permissible collection,
               maintenance, disclosure, use, or provision of access to Covered Information and
               any related limitations;

               (b)    Written attestations by those employees and independent contractors that
               they will not collect, maintain, disclose, use, or provide access to the Covered
               Information in a manner inconsistent with those limitations;

               (c)     Designation of a senior officer, or senior level team composed of no more
               than five (5) persons, to be responsible for any decision to collect, maintain, use,
               disclose, or provide access to the Covered Information; and

               (d)    Treating any new method of collecting, maintaining, using, disclosing,
               providing access to, or deleting the Covered Information as a new or modified
               product, service, or practice requiring the reviews set forth in Provisions V.E.1-3;

       5.     Regular privacy and information security training programs for all employees and
       independent contractors on at least an annual basis, updated to address any identified
       material internal or external risks and safeguards implemented pursuant to this Order;

       6.     Technical measures to monitor Respondent’s Resources to identify unauthorized
       attempts to: (a) access, modify, or exfiltrate Covered Information from Respondent’s
       Resources; or (b) access or take over Users’ accounts; and

       7.     Data access policies and controls for all: (a) databases storing Covered
       Information; (b) Resources that provide access to Users’ accounts; and (c) Resources
       containing information that enables or facilitates access to Respondent’s internal network
       and systems;

F.      Assess, at least once every twelve (12) months and promptly (not to exceed thirty (30)
days) following the resolution of a Covered Incident, the sufficiency of any safeguards in place
to address the internal and external risks to the privacy, security, confidentiality, or integrity of
Covered Information, and modify the Program based on the results;

G.     Test and monitor the effectiveness of the safeguards at least once every twelve (12)
months and promptly (not to exceed thirty (30) days) following the resolution of a Covered
Incident, and modify the Program based on the results. Such testing and monitoring must
include: (1) vulnerability testing of Respondent’s network(s) once every four (4) months and
promptly (not to exceed thirty (30) days) after an unauthorized intrusion into Respondent’s
Resources; and (2) penetration testing of Respondent’s network(s) at least once every twelve
(12) months and promptly (not to exceed thirty (30) days) after an unauthorized intrusion into
Respondent’s Resources;


                                                   7
        Case 3:22-cv-03070-TSH Document 42-2 Filed 09/11/23 Page 9 of 15




H.      Select and retain service providers capable of safeguarding Covered Information they
access through or receive from Respondent, and contractually require service providers to
implement and maintain safeguards sufficient to address the internal and external risks to the
privacy, security, confidentiality, or integrity of Covered Information; and

I.      Evaluate and adjust the Program in light of any changes to Respondent’s operations or
business arrangements, a Covered Incident, new or more efficient technological or operational
methods to control for the risks identified in Provision V.D of this Order, or any other
circumstances that Respondent knows or has reason to believe may have an impact on the
effectiveness of the Program or any of its individual safeguards. At a minimum, Respondent
must evaluate the Program at least once every twelve (12) months and modify the Program based
on the results.

        VI.    INDEPENDENT PROGRAM ASSESSMENTS BY A THIRD PARTY

         IT IS FURTHER ORDERED that, in connection with compliance with Provision V of
this Order titled Mandated Privacy and Information Security Program, Respondent must obtain
initial and biennial assessments (“Assessments”):

A.      The Assessments must be obtained from one or more qualified, objective, independent
third-party professionals (“Assessor(s)”) who: (1) use procedures and standards generally
accepted in the profession; (2) conduct an independent review of the Program; (3) retain all
documents relevant to each Assessment for five (5) years after completion of such Assessment;
and (4) will provide such documents to the Commission within ten (10) days of receipt of a
written request from a representative of the Commission. No documents relating to
Respondent’s compliance with this Order may be withheld from the Commission by the
Assessor on the basis of a claim of confidentiality, proprietary or trade secrets, work product
protection, attorney-client privilege, statutory exemption, or any similar claim. Respondent may
obtain separate assessments for (1) privacy and (2) information security from multiple Assessors,
so long as each of the Assessors meets the qualifications set forth above;

B.       For each Assessment, Respondent must provide the Associate Director for Enforcement
for the Bureau of Consumer Protection at the Federal Trade Commission with the name,
affiliation, and qualifications of the proposed Assessor, whom the Associate Director shall have
the authority to approve in her or his sole discretion;

C.      The reporting period for the Assessments must cover: (1) the first three-hundred-and-
sixty-five (365) days after the issuance date of the Order for the initial Assessment; and (2) each
two-year period thereafter for twenty (20) years after issuance of the Order for the biennial
Assessments;

D.      Each Assessment must, for the entire assessment period: (1) determine whether
Respondent has implemented and maintained the Program required by Provision V of this Order,
titled Mandated Privacy and Information Security Program; (2) assess the effectiveness of
Respondent’s implementation and maintenance of Provisions V.A-I; (3) identify any gaps or
weaknesses in, or instances of material noncompliance with, the Program; (4) address the status
of gaps or weaknesses in, or instances of material non-compliance with, the Program that were

                                                 8
       Case 3:22-cv-03070-TSH Document 42-2 Filed 09/11/23 Page 10 of 15




identified in any prior Assessment required by this Order; and (5) identify specific evidence
(including, but not limited to, documents reviewed, sampling and testing performed, and
interviews conducted) examined to make such determinations, assessments, and identifications,
and explain why the evidence that the Assessor examined is: (a) appropriate for assessing an
enterprise of Respondent’s size, complexity, and risk profile; and (b) sufficient to justify the
Assessor’s findings. No finding of any Assessment shall rely primarily on assertions or
attestations by Respondent’s management. The Assessment must be signed by the Assessor,
state that the Assessor conducted an independent review of the Program and did not rely
primarily on assertions or attestations by Respondent’s management. To the extent that
Respondent revises, updates, or adds one or more safeguards required under Provision V.E of
this Order during an Assessment period, the Assessment must assess the effectiveness of the
revised, updated, or added safeguard(s) for the time period in which it was in effect, and provide
a separate statement detailing the basis for each revised, updated, or additional safeguard; and

E.      Each Assessment must be completed within sixty (60) days after the end of the reporting
period to which the Assessment applies. Unless otherwise directed by a Commission
representative in writing, Respondent must submit the initial Assessment to the Commission
within ten (10) days after the Assessment has been completed via email to DEbrief@ftc.gov or
by overnight courier (not the U.S. Postal Service) to Associate Director for Enforcement, Bureau
of Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue NW,
Washington, DC 20580. The subject line must begin, “In re Twitter, Inc., FTC File No. 202-
3062.” All subsequent biennial Assessments must be retained by Respondent until the Order is
terminated and provided to the Associate Director for Enforcement within ten (10) days of
request.

              VII.    COOPERATION WITH THIRD-PARTY ASSESSOR(S)

         IT IS FURTHER ORDERED that Respondent and its Representatives, whether acting
directly or indirectly, in connection with any Assessment required by Provision VI of this Order
titled Independent Program Assessments by a Third Party, must:

A.     Provide or otherwise make available to the Assessor all information and material in their
possession, custody, or control that is relevant to the Assessment for which there is no reasonable
claim of privilege;

B.     Provide or otherwise make available to the Assessor information about Respondent’s
Resources(s) and all of Respondent’s IT assets so that the Assessor can determine the scope of
the Assessment, and have visibility to Resource(s) and IT assets deemed in scope; and

C.      Disclose all material facts to the Assessor(s), and not misrepresent in any manner,
expressly or by implication, any fact material to the Assessor’s: (1) determination of whether
Respondent has implemented and maintained the Program required by Provision V of this Order,
titled Mandated Privacy and Information Security Program; (2) assessment of the effectiveness
of the implementation and maintenance of Provisions V.A-I; or (3) identification of any gaps or
weaknesses in, or instances of material noncompliance with, the Program.



                                                9
       Case 3:22-cv-03070-TSH Document 42-2 Filed 09/11/23 Page 11 of 15




                                  VIII. CERTIFICATIONS

       IT IS FURTHER ORDERED that Respondent must:

A.      One year after the issuance date of this Order, and each year thereafter, provide the
Commission with a certification from a senior corporate manager, or, if no such senior corporate
manager exists, a senior officer of Respondent responsible for the Program that: (1) Respondent
has established, implemented, and maintained the requirements of this Order; (2) Respondent is
not aware of any material noncompliance that has not been (a) corrected or (b) disclosed to the
Commission; and (3) includes a brief description of all Covered Incidents during the certified
period. The certification must be based on the personal knowledge of the senior corporate
manager, senior officer, or subject matter experts upon whom the senior corporate manager or
senior officer reasonably relies in making the certification; and

B.      Unless otherwise directed by a Commission representative in writing, submit all annual
certifications to the Commission pursuant to this Order via email to DEbrief@ftc.gov or by
overnight courier (not the U.S. Postal Service) to Associate Director for Enforcement, Bureau of
Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue NW, Washington,
DC 20580. The subject line must begin, “In re Twitter, Inc., FTC File No. 202-3062.”

                          IX.    COVERED INCIDENT REPORTS

       IT IS FURTHER ORDERED that Respondent, within thirty (30) days after
Respondent’s discovery of a Covered Incident, must submit a report to the Commission. The
report must include, to the extent possible:

A.     The date, estimated date, or estimated date range when the Covered Incident occurred;

B.    A description of the facts relating to the Covered Incident, including the causes of the
Covered Incident, if known;

C.      A description of each type of Covered Information that was affected or triggered any
notification obligation to the U.S. federal, state, or local government entity;

D.      The number of Users whose Covered Information was affected or triggered any
notification obligation to the U.S. federal, state, or local government entity;

E.      The acts that Respondent has taken to date to remediate the Covered Incident and protect
Covered Information from further exposure or access, and protect affected individuals from
identity theft or other harm that may result from the Covered Incident; and

F.      A representative copy of any materially different notice sent by Respondent to consumers
or to any U.S. federal, state, or local government entity.

        Unless otherwise directed by a Commission representative in writing, all Covered
Incident reports to the Commission pursuant to this Order must be emailed to DEbrief@ftc.gov
or sent by overnight courier (not the U.S. Postal Service) to Associate Director for Enforcement,
Bureau of Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue, NW,

                                               10
       Case 3:22-cv-03070-TSH Document 42-2 Filed 09/11/23 Page 12 of 15




Washington, DC 20580. The subject line must begin, “In re Twitter, Inc., FTC File No. 202-
3062.”

                          X.      ORDER ACKNOWLEDGMENTS

        IT IS FURTHER ORDERED that Respondent obtain acknowledgments of receipt of
this Order:

A.   Respondent, within ten (10) days after the effective date of this Order, must submit to the
Commission an acknowledgment of receipt of this Order sworn under penalty of perjury.

B.      For five (5) years after the issuance date of this Order, Respondent must deliver a copy of
this Order to: (1) all principals, officers, directors, and LLC managers and members; (2) all
employees having managerial responsibilities relating to the subject matter of this Order, and all
agents and representatives who participate in any acts or practices subject to this Order; and (3)
any business entity resulting from any change in structure as set forth in the Provision titled
Compliance Report and Notices. Delivery must occur within ten (10) days after the effective
date of this Order for current personnel. For all others, delivery must occur before they assume
their responsibilities.

C.      From each individual or entity to which Respondent delivered a copy of this Order,
Respondent must obtain, within thirty (30) days, a signed and dated acknowledgment of receipt
of this Order, which can be obtained electronically.

                    XI.    COMPLIANCE REPORTING AND NOTICES

     IT IS FURTHER ORDERED that Respondent makes timely submissions to the
Commission:

A.      Two-hundred and forty (240) days after the issuance date of this Order, Respondent must
submit a compliance report, sworn under penalty of perjury, in which Respondent: (1) identifies
the primary physical, postal, and email address and telephone number, as designated points of
contact, which representatives of the Commission may use to communicate with Respondent; (2)
identifies all of Respondent’s businesses by all of their names, telephone numbers, and physical,
postal, email, and Internet addresses; (3) describes the activities of each business, including the
goods and services offered and the means of advertising, marketing, and sales; (4) describes in
detail whether and how Respondent is in compliance with each Provision of this Order; and (5)
provides a copy of each Acknowledgment of the Order obtained pursuant to this Order, unless
previously submitted to the Commission.

B.      Respondent must submit a compliance notice, sworn under penalty of perjury, within
fourteen (14) days of any change in the following: (1) any designated point of contact; (2) the
structure of Respondent or any entity that Respondent has any ownership interest in or controls
directly or indirectly that may affect compliance obligations arising under this Order, including:
creation, merger, sale, or dissolution of the entity or any subsidiary, parent, or affiliate that
engages in any acts or practices subject to this Order; (3) the filing of any bankruptcy petition,
insolvency proceeding, or similar proceeding by or against Respondent.


                                                11
       Case 3:22-cv-03070-TSH Document 42-2 Filed 09/11/23 Page 13 of 15




C.     Any submission to the Commission required by this Order to be sworn under penalty of
perjury must be true and accurate and comply with 28 U.S.C. § 1746, such as by concluding: “I
declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct. Executed on: _____” and supplying the date, signatory’s full
name, title (if applicable), and signature.

D.      Unless otherwise directed by a Commission representative in writing, all submissions to
the Commission pursuant to this Order must be emailed to DEbrief@ftc.gov or sent by overnight
courier (not the U.S. Postal Service) to: Associate Director for Enforcement, Bureau of
Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue NW, Washington,
DC 20580. The subject line must begin: “In re Twitter, Inc., FTC File No. 202-3062.”

                                  XII.    RECORDKEEPING

       IT IS FURTHER ORDERED that Respondent must create certain records for twenty
(20) years after the issuance date of the Order and retain each such record for five (5) years.
Specifically, Respondent must create and retain the following records:

A.     Accounting records showing the revenues from all goods or services sold;

B.      Personnel records showing, for each person that Respondent contracts with directly and
that provides services in relation to any aspect of the Order, whether as an employee or
otherwise, that person’s: name; addresses; telephone numbers; job title or position; dates of
service; and (if applicable) the reason for termination;

C.     Copies or records of all U.S. consumer complaints concerning the subject matter of the
Order, and any responses to such complaints;

D.      A copy of each unique advertisement or other marketing material making a representation
subject to this Order;

E.      A copy of each widely-disseminated representation by Respondent or its Representatives
that describe the extent to which Respondent maintains and protects the privacy, security,
confidentiality, or integrity of Covered Information, including, but not limited to, (1) statements
relating to any change in any product, service, or practice that relates to the privacy, security,
confidentiality, or integrity of such information, and (2) statements relating to: (a) Respondent’s
privacy and security measures to prevent unauthorized access to Covered Information;
(b) Respondent’s privacy and security measures to honor the privacy choices exercised by Users;
(c) Respondent’s collection, maintenance, use, disclosure, or deletion of Covered Information;
(d) the extent to which a User can control the privacy of any Covered Information maintained by
Respondent, and the steps a User must take to implement such controls; (e) the extent to which
Respondent makes or has made Covered Information accessible to any third parties; (f) the
extent to which Respondent allows third parties to serve advertisements to Users; or (g) the
extent to which Respondent is a member of, adheres to, complies with, is certified by, is
endorsed by, or otherwise participates in any privacy or security program sponsored by a
government or any self-regulatory or standard-setting organization, including but not limited to
the EU-U.S. Privacy Shield framework, the Swiss-U.S. Privacy Shield framework, and the
APEC Cross-Border Privacy Rules;
                                                12
       Case 3:22-cv-03070-TSH Document 42-2 Filed 09/11/23 Page 14 of 15




F.     All materials relied upon in making the statements in Provisions XII.D and XII.E, and
copies of each materially different notice provided to Users and mechanisms for obtaining a
User’s consent for the collection, use, or disclosure of Covered Information (including
screenshots/screencasts and User interfaces, consent flows, and paths a User must take to reach
such settings);

G.      All materials relied upon to prepare the Assessment, whether prepared by or on behalf of
Respondent, including all plans, reports, studies, reviews, audits, audit trails, policies, training
materials, and assessments, and any other materials concerning Respondent’s compliance with
related Provisions of this Order, for the compliance period covered by such Assessment;

H.     For 5 years from the date received, copies of all subpoenas, information provided in
response to such subpoenas, and all material correspondence with law enforcement, if such
communication relate to Respondent’s compliance with this Order;

I.      For 5 years from the date created or received, all records, whether prepared by or on
behalf of Respondent, that contradict, qualify, or call into question Respondent’s compliance
with this Order; and

J.     All records necessary to demonstrate full compliance with each Provision of this Order,
including all submissions to the Commission.

                            XIII. COMPLIANCE MONITORING

       IT IS FURTHER ORDERED that, for the purpose of monitoring Respondent’s
compliance with this Order:

A.     Within fourteen (14) days of receipt of a written request from a representative of the
Commission, Respondent must: submit additional compliance reports or other requested
information, which must be sworn under penalty of perjury; appear for depositions; and produce
records for inspection and copying. The Commission is also authorized to obtain discovery,
without further leave of court, using any of the procedures prescribed by Federal Rules of Civil
Procedure 29, 30 (including telephonic depositions), 31, 33, 34, 36, 45, and 69.

B.      For matters concerning this Order, representatives of the Commission are authorized to
communicate directly with Respondent. Respondent must permit representatives of the
Commission to interview anyone affiliated with Respondent who has agreed to such an
interview. The interviewee may have counsel present.

C.      The Commission may use all other lawful means, including posing through its
representatives as consumers, suppliers, or other individuals or entities, to Respondent or any
individual or entity affiliated with Respondent, without the necessity of identification or prior
notice. Nothing in this Order limits the Commission’s lawful use of compulsory process,
pursuant to Sections 9 and 20 of the FTC Act, 15 U.S.C. §§ 49, 57b-1.




                                                 13
       Case 3:22-cv-03070-TSH Document 42-2 Filed 09/11/23 Page 15 of 15




                             XIV. ORDER EFFECTIVE DATES

         IT IS FURTHER ORDERED that this Order is final and effective upon the date of its
publication on the Commission’s website (ftc.gov) as a final order. This Order will terminate
twenty (20) years from the date of its issuance (which date may be stated at the end of this Order,
near the Commission’s seal), or twenty (20) years from the most recent date that the United
States or the Commission files a complaint (with or without an accompanying settlement) in
federal court alleging any violation of this Order, whichever comes later; provided, however, that
the filing of such a complaint will not affect the duration of:

A.     Any Provision in this Order that terminates in less than twenty (20) years;

B.     This Order if such complaint is filed after the Order has terminated pursuant to this
Provision.

       Provided, further, that if such complaint is dismissed or a federal court rules that
Respondent did not violate any Provision of the Order, and the dismissal or ruling is either not
appealed or upheld on appeal, then the Order will terminate according to this Provision as though
the complaint had never been filed, except that the Order will not terminate between the date
such complaint is filed and the later of the deadline for appealing such dismissal or ruling and the
date such dismissal or ruling is upheld on appeal.

       By the Commission.




                                              April J. Tabor
                                              Secretary

SEAL:
ISSUED: May 26, 2022




                                                14
